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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     STEVEN C. JOHNSON,                                Case No. 3:20-cv-08807-WHO
                                                         Plaintiff,
                                   8
                                                                                           ORDER ON MOTION TO DISMISS
                                                  v.
                                   9
                                                                                           Re: Dkt. No. 64
                                  10     GLOCK, INC., et al.,
                                                         Defendants.
                                  11

                                  12
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                                  13          Plaintiff Steven Johnson alleges—on behalf of himself and a proposed class of California

                                  14   gun owners—that defendants Glock, Inc., and Glock Ges.m.b.H (collectively, “Glock”)

                                  15   manufacture, market, and sell certain defective firearms. According to him, specific Glock guns’

                                  16   chambers are “unsupported,” which can cause damage to brass casings and, sometimes, cause the

                                  17   guns to dangerously blow apart. Johnson alleges that Glock’s failure to disclose the alleged defect

                                  18   and its consequences violated California consumer protection law. I previously granted two

                                  19   rounds of motions to dismiss the complaint for various pleading failures. This time, Johnson has

                                  20   adequately pleaded his claims, except when it comes to a few specific statements that are not

                                  21   actionable under California’s False Advertising Law; the claims are not barred by the statute of

                                  22   limitations on the face of the complaint; and Glock’s remaining arguments are unpersuasive or

                                  23   premature. Except to the limited extent described, Glock’s motion to dismiss is denied.

                                  24                                           BACKGROUND

                                  25          Johnson is a retired officer from the Oakland Police Department. Third Amended

                                  26   Complaint (“TAC”) [Dkt. No. 60] ¶ 8. Glock sells firearms. See, e.g., id. ¶ 15. On April 15,

                                  27   2016, Johnson purchased a Glock 30 SF .45 caliber gun from an authorized Glock dealer in

                                  28   California. Id. ¶ 8.
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                                   1          According to Johnson, a group of Glock models (the “Class Guns”) possess a defect, an

                                   2   “unsupported chamber.” Id. ¶ 20. Essentially, the barrel chamber “does not fully enclose the

                                   3   bullet casing sufficiently before firing.” Id. The “feed ramp” of the guns “extends too far into the

                                   4   chamber.” Id. The result, Johnson alleges, is that the chamber does not adequately support the

                                   5   round. Id. This, in turn, places “unreasonable pressures” on the round. Id. Johnson alleges that

                                   6   this defect has two results. First, the defect damages the brass casings of a round, sometimes

                                   7   resulting in a “bulge” or “smile.” Id. ¶ 24. The damage is sometimes noticeable by the naked eye,

                                   8   sometimes not. Id. Johnson claims that this damage “renders the brass casings useless,

                                   9   nonfunctional, and valueless.” Id. ¶ 25. They are usually, in contrast, reusable. Id. ¶ 26. Second,

                                  10   the defect can cause a “blowout” or “kaboom.” Id. ¶ 27. When this happens, the round explodes

                                  11   or separates and “a piece of the casing dislodges.” Id. These kabooms can cause severe injury to

                                  12   the shooter. Id.
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                                  13          Johnson alleges that Glock knowingly failed to disclose the existence of the defect (or its

                                  14   consequences). He also alleges that Glock made statements (such as its guns being the result of a

                                  15   “profound series of engineering feats”) that would lead reasonable consumers to believe the guns

                                  16   were not unreasonably safe. See id. ¶¶ 17–20.

                                  17          Johnson brought suit in state court and Glock removed the case to this court in December

                                  18   2020. Dkt. No. 1. In February 2021, I granted Glock’s motion to dismiss the First Amended

                                  19   Complaint with leave to amend. See Dkt. No. 38 (“First MTD Order”). Among other problems,

                                  20   Johnson “never plead[ed] basic facts, like who he bought his Glock from, when, or how he was

                                  21   injured by the alleged defect.” Id. 1. For that reason and others, the original complaint was

                                  22   deficient. In May 2021, I granted Glock’s motion to dismiss the Second Amended Complaint

                                  23   (“FAC”). See Dkt. No. 58 (“Second MTD Order”). I found that three of the claims were time-

                                  24   barred on the face of the complaint and that Johnson had not adequately alleged that Glock had

                                  25   pre-sale knowledge of the defect, requiring dismissal of the fourth claim.

                                  26          On June 7, 2021, Johnson filed the TAC. The complaint is brought on behalf of Johnson

                                  27   and a putative class of “[a]ll current and former owners of a Class Gun that was purchased in the

                                  28   State of California.” TAC ¶ 69. He brings four claims: violation of the Consumers Legal
                                                                                        2
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                                   1   Remedies Act (“CLRA”), CAL. CIV. CODE §§ 1750 et seq.; the Unfair Competition Law (“UCL”),

                                   2   CAL. BUS. & PROF. CODE § 17200 et seq.; the False Advertising Law (“FAL”), CAL. BUS. & PROF.

                                   3   CODE § 17500; and for common-law fraudulent omission. See id. ¶¶ 85–136.

                                   4                                          LEGAL STANDARD

                                   5            Under Federal Rule of Civil Procedure (“FRCP”) 12(b)(6), a district court must dismiss a

                                   6   complaint if it fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6)

                                   7   motion to dismiss, the plaintiff must allege “enough facts to state a claim to relief that is plausible

                                   8   on its face.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially

                                   9   plausible when the plaintiff pleads facts that “allow the court to draw the reasonable inference that

                                  10   the defendant is liable for the misconduct alleged.” See Ashcroft v. Iqbal, 556 U.S. 662, 678

                                  11   (2009) (citation omitted). There must be “more than a sheer possibility that a defendant has acted

                                  12   unlawfully.” Id. While courts do not require “heightened fact pleading of specifics,” a plaintiff
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                                  13   must allege facts sufficient to “raise a right to relief above the speculative level.” See Twombly,

                                  14   550 U.S. at 555, 570.

                                  15            In deciding whether the plaintiff has stated a claim upon which relief can be granted, the

                                  16   Court accepts the plaintiff’s allegations as true and draws all reasonable inferences in favor of the

                                  17   plaintiff. See Usher v. City of Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). However, the court

                                  18   is not required to accept as true “allegations that are merely conclusory, unwarranted deductions of

                                  19   fact, or unreasonable inferences.” See In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                  20   2008).

                                  21            FRCP 9(b) imposes a heightened pleading standard where a complaint alleges fraud or

                                  22   mistake. Under FRCP 9(b), to state a claim for fraud, a party must plead with “particularity the

                                  23   circumstances constituting the fraud,” and the allegations must “be specific enough to give

                                  24   defendants notice of the particular misconduct . . . so that they can defend against the charge and

                                  25   not just deny that they have done anything wrong.” See Kearns v. Ford Motor Co., 567 F.3d

                                  26   1120, 1124 (9th Cir. 2009) (citation omitted). “Averments of fraud must be accompanied by the

                                  27   who, what, when, where, and how of the misconduct charged.” Vess v. Ciba-Geigy Corp., 317

                                  28   F.3d 1097, 1106 (9th Cir. 2003) (citation omitted).
                                                                                          3
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                                   1           If the court dismisses the complaint, it “should grant leave to amend even if no request to

                                   2   amend the pleading was made, unless it determines that the pleading could not possibly be cured

                                   3   by the allegation of other facts.” See Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000). In

                                   4   making this determination, the court should consider factors such as “the presence or absence of

                                   5   undue delay, bad faith, dilatory motive, repeated failure to cure deficiencies by previous

                                   6   amendments, undue prejudice to the opposing party and futility of the proposed amendment.” See

                                   7   Moore v. Kayport Package Express, 885 F.2d 531, 538 (9th Cir. 1989).

                                   8                                              DISCUSSION

                                   9   I.      STATUTES OF LIMITATIONS

                                  10           Glock moves to dismiss the CLRA, FAL, and fraudulent omissions claims as barred by

                                  11   their statutes of limitations. See Motion to Dismiss (“Mot.”) [Dkt. No. 64] 2–9.

                                  12           A motion to dismiss based on a statute of limitations can only be granted when its running
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                                  13   “is apparent on the face of the complaint.” Huynh v. Chase Manhattan Bank, 465 F.3d 992, 997

                                  14   (9th Cir. 2006) (internal quotation marks and citation omitted). The parties agree that the CLRA,

                                  15   FAL, and fraudulent omissions claims all have statutes of limitations of three years. See Mot. 2–3;

                                  16   Opposition to the Mot. (“Oppo.”) [Dkt. No. 66] 6. There is no dispute that Johnson’s gun was

                                  17   purchased more than three years before he filed suit. Johnson contends, however, that the

                                  18   doctrines of delayed discovery and fraudulent concealment tolling save his claims. See Oppo. 6–

                                  19   11. I agree with him that, on the pleadings, he has sufficiently alleged at least that the delayed

                                  20   discovery rule applies.1

                                  21           Although the expiration of a statute of limitations is an affirmative defense, Johnson bears

                                  22   the burden of adequately pleading tolling. Hinton v. Pac. Enterprises, 5 F.3d 391, 395 (9th Cir.

                                  23   1993). “To align the actual application of the limitations defense more closely with the policy

                                  24   goals animating it, the courts and the Legislature have over time developed a handful of equitable

                                  25   exceptions to and modifications of the usual rules governing limitations periods.” Aryeh v. Canon

                                  26
                                  27   1
                                        The accrual standard for the fraudulent omission claim “codifies the delayed discovery rule,”
                                  28   Britton v. Girardi, 235 Cal. App. 4th 721, 733 (2015), so the parties treat all three claims as rising
                                       or falling together.
                                                                                        4
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                                   1   Bus. Sols., Inc., 55 Cal. 4th 1185, 1192 (2013). One exception, the discovery rule, “postpones

                                   2   accrual of a cause of action until the plaintiff discovers, or has reason to discover, the cause of

                                   3   action.” Fox v. Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 807 (2005). A reason to discover

                                   4   exists when the plaintiff has reason “at least to suspect a factual basis for its elements.” Id.

                                   5   (internal quotation marks and citation omitted). To rely on this rule, “a plaintiff must plead: (1)

                                   6   the time and manner of discovery and (2) the inability to have made earlier discovery despite

                                   7   reasonable diligence.” Id. at 808. “California law makes clear that a plaintiff must allege specific

                                   8   facts establishing the applicability of the discovery-rule exception.” California Sansome Co. v.

                                   9   U.S. Gypsum, 55 F.3d 1402, 1407 (9th Cir. 1995).

                                  10          Previously, I found that “Johnson has not adequately alleged when and under what

                                  11   circumstances the discovery of the violation or fraud occurred, let alone with the particularity

                                  12   required. Johnson’s sole allegation is that he discovered the defect ‘in 2020.’” Second MTD
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                                  13   Order 6. Without that information, “there [wa]s no way for Glock to fairly challenge it or for me

                                  14   to adjudicate whether the claim is tolled.” Id. 6–7. He also failed to adequately plead reasonable

                                  15   diligence. Id. 7.

                                  16          Now, Johnson has adequately alleged that the discovery rule postpones accrual of his claim

                                  17   to within the statutory period and provided sufficient detail to allow analysis of his claims. He

                                  18   alleges that he only discovered the alleged defect on July 21, 2020. TAC ¶ 9. He did so, he

                                  19   claims, from an online attorney advertisement about Glock hand guns. Id. He also includes

                                  20   allegations that plausibly show that he could not have discovered the defect sooner with

                                  21   reasonable diligence. He alleges that he

                                  22          had never run into an article or disclosure of this kind despite his research into the gun.
                                              None of the materials from Glock, including the materials that came with the gun or the
                                  23          statements on Glock’s website, revealed or even mentioned the possibility of the Defect.
                                  24          The authorized Glock dealer from which Mr. Johnson purchased his gun said nothing to
                                              hint at such a Defect.
                                  25   Id. ¶ 10. He claims that Glock entered into settlements with confidentiality provisions with those
                                  26   who sued over the defect, to prevent the public from learning about it. Id. ¶ 43. And he alleges
                                  27   that the defect is latent, making it easier to avoid discovery. Id. ¶ 6.
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                                   1          Glock first replies that “a cause of action does not accrue when a plaintiff learns about a

                                   2   potential cause of action from an attorney.” Mot. 3. It overstates things. As the cases it cites for

                                   3   that view make clear, there is no special exception to the discovery rule for attorney

                                   4   advertisements. All those cases did was apply the normal rule that discovery occurs when the

                                   5   plaintiff learns the critical facts underlying the claim, not when they learned they had a legal claim

                                   6   (including from an attorney). See, e.g., Murillo v. Homebridge Fin. Servs., No. CV 19-1328, 2019

                                   7   WL 306447 *3 (C.D. Cal. May 22, 2019). Here, Johnson alleges that he did not know of the facts

                                   8   giving rise to his claim until he viewed the advertisement, which happened to be from an attorney.

                                   9          Next, Glock argues that “Plaintiff provides no facts about why he visited this website, let

                                  10   alone why he explored suing Glock over a pistol that until that moment he allegedly thought was

                                  11   defect free.” Mot. 4. He need not do so at this stage. Discovery will reveal whether Johnson had

                                  12   reason to suspect a problem prior to this, but he does not have to affirmatively rule out every
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                                  13   possibility at the pleadings. Relatedly, Glock contends that Johnson must have been aware of the

                                  14   defect due to the damage to casings. Mot. 5. But Johnson now alleges that the damage would not

                                  15   always be plain to the naked eye. TAC ¶ 24. Taking that as true, it is reasonable that Johnson

                                  16   would never have observed the physical manifestation of the defect to put him on notice. Again,

                                  17   discovery will reveal whether Johnson should have realized the defect was there before.

                                  18   Relatedly, Glock argues that Johnson’s allegation that he suffered “out of pocket loss” means that

                                  19   he must have known. Mot. 5–6. That does not follow. He may now know that he suffered those

                                  20   losses without knowing at the time.

                                  21          Glock also asserts that the TAC fails to show due diligence and, in fact, affirmatively

                                  22   undermines that argument. See Mot. 6–7. Its argument is that, because Johnson alleges that

                                  23   public information would show that Glock had pre-sale knowledge of the defect, that same public

                                  24   knowledge would put him on notice. Id. Making that finding at the pleadings would be

                                  25   inappropriate. For the reasons explained below, it is plausible that Glock was on notice. But just

                                  26   because a company whose business likely requires it to monitor online chatter would be on notice

                                  27   does not mean that a reasonable consumer with no incentive to perform the same level of

                                  28   monitoring would be on notice. Glock’s pre-sale knowledge, moreover, is alleged to partially
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                                   1   depend in part on things like lawsuits that would not be as plausibly within the knowledge of a

                                   2   reasonable consumer.2

                                   3            Accordingly, I cannot say these three claims are time-barred “on the face of the

                                   4   complaint.” Huynh, 465 F.3d at 997. Because Johnson has adequately alleged that the discovery

                                   5   rule applies, there is no need to determine whether he has also adequately pleaded fraudulent

                                   6   concealment.

                                   7   II.      DUTY TO DISCLOSE

                                   8            Glock argues that Johnson has not adequately alleged that it had pre-sale knowledge of the

                                   9   alleged defect, so it had no duty to disclose the defect under any of the four causes of action. See

                                  10   Mot. 11–18.

                                  11            Johnson’s claims are brought under the UCL, CLRA, FAL, and a common-law fraudulent

                                  12   omission theory. The parties agree that, under all four causes of action, California law renders
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                                  13   some omissions actionable, but not all. In particular, “[o]missions may be the basis of claims

                                  14   under California consumer protections laws, but to be actionable the omission must be contrary to

                                  15   a representation actually made by the defendant, or an omission of a fact the defendant was

                                  16   obliged to disclose.” Hodsdon v. Mars, Inc., 891 F.3d 857, 861 (9th Cir. 2018); see also

                                  17   Daugherty v. Am. Honda Motor Co., 144 Cal. App. 4th 824, 834–35 (2006), as modified (Nov. 8,

                                  18   2006).

                                  19            There are two situations in which this a duty to disclose arises. The first is when the

                                  20   undisclosed information “cause[s] an unreasonable safety hazard.” Hodsdon, 891 F.3d at 861–62.

                                  21   Under this theory, a plaintiff must adequately plead (1) a defect, (2) a safety hazard, (3) a causal

                                  22   connection between the defect and the hazard, and (4) the defendant’s knowledge of the defect at

                                  23   the time of sale. See Wilson v. Hewlett-Packard Co., 668 F.3d 1136, at 1142–43 (9th Cir. 2012).

                                  24

                                  25   2
                                         Glock incorrectly claims that “all presumptions” must be drawn against Johnson in seeking to
                                  26   establish the discovery rule at this stage. See Reply 2. The Ninth Circuit case that the quote
                                       originally comes from makes clear it is discussing proof, not pleading; it was making the
                                  27   unremarkable point that the party asserting the discovery rule bears the burden on it. N.L.R.B. v.
                                       Don Burgess Const. Corp., 596 F.2d 378, 383 (9th Cir. 1979) (“The party seeking the benefit of
                                  28   the avoidance of the statute of limitations carries the burden of proof to establish the elements . . . .
                                       Moreover, all presumptions are against him.”).
                                                                                          7
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                                   1   The second situation is when (1) the omission is material, (2) the defect is central to the product’s

                                   2   function, and (3) one of the so-called LiMandri factors is met. Hodsdon, 891 F.3d at 863. The

                                   3   four LiMandri factors are:

                                   4          (1) when the defendant is the plaintiff's fiduciary; (2) when the defendant has exclusive
                                              knowledge of material facts not known or reasonably accessible to the plaintiff; (3) when
                                   5          the defendant actively conceals a material fact from the plaintiff; and (4) when the
                                   6          defendant makes partial representations that are misleading because some other material
                                              fact has not been disclosed.
                                   7   Collins v. eMachines, Inc., 202 Cal. App. 4th 249, 255 (2011), as modified (Dec. 28, 2011) (citing
                                   8   LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997)).
                                   9          Johnson advances two theories for why Glock was obligated to disclose the alleged defect:
                                  10   (1) a safety-hazard theory and (2) a theory that the defect was material, goes to the product’s
                                  11   central function, and that Glock had exclusive knowledge of those facts. I conclude that Johnson
                                  12
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                                       has adequately alleged a safety-hazard based theory, so there is no need at present to determine
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                                  13   whether he has plausibly pleaded his alternative LiMandri theory.
                                  14          Glock argues only that Johnson has failed to adequately allege that it had knowledge of the
                                  15   defect at the time of sale. See Mot. 10–16.3 I previously agreed, finding that Johnson’s
                                  16   allegations were insufficient. See Second MTD Order 11–13. Now, however, Johnson has added
                                  17   significantly to his allegations, plausibly illustrating Glock’s knowledge.
                                  18          Before turning to specific incidents, I note one overarching, important allegation. In the
                                  19   Second MTD Order, I wrote that,
                                  20
                                              The situation would be different if the only way that guns could reasonably blow out were
                                  21          this unsupported chamber defect; there is no such allegation here and, without it, “common
                                              sense,” Ashcroft, 556 U.S. at 664, teaches that igniting gun powder can cause explosions
                                  22          unconnected to it. Cf. Wallace [v. SharkNinja Operating, LLC, No. 18-CV-05221-BLF,
                                              2020 WL 1139649, at *8 (N.D. Cal. Mar. 9, 2020) (finding that reports of blenders
                                  23          exploding were, alone, insufficient to show that the blenders exploded due to a particular
                                              defect)]. At bottom, Johnson relies only on unspecified complaints or reports of blow outs
                                  24
                                              with no allegation connecting them to the defect here.
                                  25   Id. 13. Now, Johnson has included allegations that go directly to this problem. He claims that
                                  26
                                  27   3
                                         Glock’s first motion argued that Johnson had not adequately pleaded a safety hazard, but I
                                  28   rejected that argument and Glock does not repeat it here. See First MTD Order 8–9.

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                                   1   “neither brass damage (including smiles or bulges), nor kabooms, are the normal result of firing a

                                   2   handgun, or of the forces of gun powder exploding.” TAC ¶ 29. Indeed, “when using typical

                                   3   factory ammunition, the brass damage described in this complaint, and especially a kaboom, will

                                   4   only happen when firing a Class Gun because of the Unsupported Chamber Defect.” Id.

                                   5   (emphasis added).4 Taking that allegation into account, I now turn to his specific allegations

                                   6   illustrating Glock’s purported knowledge.

                                   7          Johnson alleges that, in 2004, “the Portland Police Department made a claim against Glock

                                   8   after two .45-caliber Glock Model 21 pistols (Class Guns) exploded in the hands of two of

                                   9   Portland PD’s officers.” TAC ¶ 32. He alleges that “[t]hese exploded guns were Class Guns that

                                  10   had the Unsupported Chamber Defect and it was the Unsupported Chamber Defect that caused

                                  11   the kabooms.” Id. (emphasis added). But, he alleges, Glock entered into a confidential settlement

                                  12   with the department. Id. (Johnson’s SAC referenced the incident but failed to tie it to the defect.
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                                  13   See SAC ¶ 25; Second MTD Order 12.) Glock counters that the plaintiff in that lawsuit “did not

                                  14   claim that the Glock pistol had an unsupported chamber, but rather sued both Glock and the

                                  15   ammunition manufacturer, contending that the ammunition was defective, and that the metallurgic

                                  16   strength of the pistol’s barrel was deficient.” Mot. 13–14. But that factual assertion is just

                                  17   argument in the brief, unsupported by a request for judicial notice. That failure is especially

                                  18   conspicuous because Glock does request judicial notice about other lawsuits. See Request for

                                  19   Judicial Notice (“RJN”) [Dkt. No. 65]. At this stage, I must take Johnson’s pleaded allegation

                                  20   over Glock’s unsupported argument. A lawsuit based on the very defect at issue would help

                                  21   plausibly put Glock on notice.

                                  22          Next, Johnson alleges that two Glock Guns used by the Winter Haven, Florida, police

                                  23   department “kaboomed” in 2007. TAC ¶ 33. He pleads that “[u]pon information and belief, these

                                  24   exploded guns were Class Guns that had the Unsupported Chamber Defect and it was the

                                  25   Unsupported Chamber Defect that caused the kabooms.” Id. The incident allegedly caused the

                                  26
                                  27   4
                                         Johnson contrasts “typical factory ammunition” to “reloaded” ammunition, which might result in
                                  28   the harms discussed. TAC ¶ 29. But, at this stage, the allegation is sufficient to draw a tight
                                       enough nexus between blow outs and the defect.
                                                                                       9
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                                   1   department to stop using Glock guns. Id. Glock responds that the allegation is conclusory, Mot.

                                   2   14, but it is sufficiently detailed for present purposes. Glock also contends that a news story from

                                   3   2018 states that the ammunition maker of the bullets took responsibility for the incidents. See

                                   4   Dkt. No. 65-1 at 5–7. Even if I were to grant Glock’s request for judicial notice of the existence of

                                   5   the article (Dkt. No. 65), I would not and could not take notice of the truth of what it contains.

                                   6   Glock’s argument may ultimately carry the day as an evidentiary matter, but I cannot accept as

                                   7   true an un-cross-examined hearsay statement from an interested party in the face of pleaded

                                   8   allegations. See Fed. R. Evid. 201(b) (restricting judicial notice to facts “not subject to reasonable

                                   9   dispute”); Gerritsen v. Warner Bros. Ent. Inc., 112 F. Supp. 3d 1011, 1022 (C.D. Cal. 2015). A

                                  10   municipal police department—a major customer—allegedly discontinuing using guns due to the

                                  11   defect helps make it plausible that Glock was aware of it.

                                  12          Johnson also relies on a 2009 officer training for the Miami Police Department in which a
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                                  13   Glock exploded and the officer sued Glock. TAC ¶ 34. Johnson again alleges that “on

                                  14   information and belief, this exploded gun was a Class Gun that had the Unsupported Chamber

                                  15   Defect and it was the Unsupported Chamber Defect that caused the kaboom. Upon information

                                  16   and belief, Glock entered a confidential settlement with the officer, but never fixed or warned of

                                  17   the Defect.” Id. Glock’s only response to this allegation is that Johnson “does not say that the

                                  18   plaintiffs in those cases alleged an ‘unsupported chamber’ caused their injuries. Instead, Plaintiff

                                  19   says that he thinks that is what happened.” Mot. 14. But Glock again does not seek judicial notice

                                  20   of the lawsuit to demonstrate that Johnson is incorrect, so his allegations must be taken as true.

                                  21   And again, because the lawsuit was against Glock, it plausibly would help put it on notice.

                                  22          Aside from these specific incidents, Johnson relies on complaints to Glock. He attempted

                                  23   to do so in the SAC as well, but the pleading was too vague to create a reasonable inference of

                                  24   knowledge. Second MTD Order 11–12. As I explained, “[c]ourts have routinely found that

                                  25   nebulous allegations that consumers made undated complaints are insufficient to show that a

                                  26   company had pre-sale knowledge of the defect.” Id. 11 (citations omitted). Now, Johnson pleads

                                  27   that before (and after) he purchased his Glock, “Glock received an unusually high number of

                                  28   complaints regarding the Unsupported Chamber Defect and Glock received, saw, and examined
                                                                                         10
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                                   1   numerous returned Class Guns and bullet casings, thereby reminding Glock repeatedly, and with

                                   2   physical evidence, of the Defect.” TAC ¶ 44. And he is specific that “[m]any of these consumer

                                   3   claims and product send-backs were done pursuant to Glock’s internal warranty program.” Id. An

                                   4   “unusually high number of complaints” about an issue is often an adequate allegation to plead pre-

                                   5   sale knowledge. Williams v. Yamaha Motor Co., 851 F.3d 1015, 1026 (9th Cir. 2017). And,

                                   6   because the precise details and numbers of these complaints are “matters peculiarly within the

                                   7   [Glock’s] knowledge, allegations based on information and belief” are sufficient here, especially

                                   8   in light of Johnson pleading the specific channel—warranty claims—through which complaints

                                   9   were submitted. Wehlage v. EmpRes Healthcare, Inc., 791 F. Supp. 2d 774, 789 (N.D. Cal. 2011).

                                  10          Glock counters that Johnson should have attached these complaints to his complaint, Mot.

                                  11   11, but the law imposes no such requirement at the pleadings and Glock, not Johnson, is likely to

                                  12   have them anyway. Glock also cites cases holding that information-and-belief pleading usually
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                                  13   needs an explanation of the facts supporting the belief to “satisfy Rule 9(b).” Mot. 12; see, e.g.,

                                  14   Nayab v. Capital One Bank (USA), N.A., 942 F.3d 480, 493–94 (9th Cir. 2019). But Rule 9(b)’s

                                  15   particularity requirement does not apply to “[m]alice, intent, knowledge, and other conditions of a

                                  16   person’s mind[, which] may be alleged generally.” Fed. R. Civ. P. 9(b).

                                  17          Finally, Johnson relies on videos online “from at least as far back as 2008” that “depict[]

                                  18   Glock kabooms, caused at least in part by the Unsupported Chamber Defect.” TAC ¶ 50. He

                                  19   pleads specific examples. One published in 2012 had nearly 100,000 views. Id. Another in 2015

                                  20   had nearly 50,000. Id. ¶ 51. A third from 2012 has more than 200,000. Id. ¶ 52. He includes a

                                  21   number of others. Id. ¶ 53. The videos often warn consumers about the kabooms and Glock guns.

                                  22   Id. ¶¶ 50–53. I agree with Johnson that, at the pleadings stage, it is reasonable to infer that it is

                                  23   plausible that Glock would have seen at least some of these videos. And, due to Johnson’s

                                  24   allegation that (so long as factory ammunition is used), the kaboom must result from the alleged

                                  25   defect, id. ¶ 29, it is also reasonable to infer that Glock plausibly had knowledge of that defect.

                                  26          Glock counters that “YouTube is a third-party website, and Glock does not control its

                                  27   content.” Mot. 16. That misses the point. Its knowledge can be inferred because the videos had

                                  28   relatively wide circulation, not because Glock owned the website. Glock also argues that these
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                                   1   videos are only a few of the “over 800 million YouTube videos published on the site.” Id. But

                                   2   these videos specifically had to do with Glock’s business and were from displeased customers

                                   3   complaining about a potential safety hazard. It is reasonable to draw the inference—as I must at

                                   4   this stage—that a business like Glock monitors for or would have been made aware of such things.

                                   5           All of these taken together—the specific incidents and lawsuits, the many complaints, and

                                   6   the widely-seen online videos—plausibly show that Glock had knowledge of the alleged defect.5

                                   7   As explained above, I reject many of Glock’s particular arguments. But even if Glock were right

                                   8   on some of them—for instance, even if the complaints standing alone were insufficient—in

                                   9   determining whether a plaintiff has alleged pre-sale knowledge, the inquiry necessarily focuses on

                                  10   all possible sources of that knowledge put together. Discovery will reveal what Glock truly knew,

                                  11   and when.

                                  12   III.    FAL FALSITY
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                                  13           Particular to the FAL claim, Glock argues that “[t]he TAC does not allege a single

                                  14   actionable statement made by Glock, warranting dismissal of Plaintiff’s FAL claim as a matter of

                                  15   law.” Mot. 19. Unlike under the CLRA or a fraudulent omission claim, Glock argues that the

                                  16   FAL requires an advertisement—that is, an affirmative statement. And the actual statements that

                                  17   Johnson alleges, according to Glock, are not misleading as a matter of law. Id.

                                  18           To start, I agree that the FAL requires a plaintiff to point to a misleading statement. The

                                  19   statute provides in pertinent part,

                                  20           [i]t is unlawful for any . . . corporation . . . with intent directly or indirectly to perform
                                               services, professional or otherwise, . . . to induce the public to enter into any obligation
                                  21           relating thereto, to make or disseminate or cause to be made or disseminated before the
                                  22           public in this state, or to make or disseminate or cause to be made or disseminated from
                                               this state before the public in any state, in any newspaper or other publication, or any
                                  23           advertising device, or by public outcry or proclamation, or in any other manner or means
                                               whatever, including over the Internet, any statement, concerning . . . those services . . . or
                                  24           concerning any circumstance or matter of fact connected with the proposed performance or
                                               disposition thereof, which is untrue or misleading, and which is known, or which by the
                                  25           exercise of reasonable care should be known, to be untrue or misleading
                                  26
                                  27   5
                                        Johnson alleges other consumer complaints that are either undated or happened after his
                                  28   purchase. See TAC ¶¶ 40–42. And he relies on comments posted to third-party websites. Id. ¶¶
                                       45–49. Because his other allegations suffice, there is no need to rely on these in this Order.
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                                   1   Cal. Bus. & Prof. Code § 17500. As a result, courts have explained that “[t]here can be no FAL

                                   2   claim where there is no ‘statement’ at all.” Norcia v. Samsung Telecommunications Am., LLC,

                                   3   No. 14-CV-00582-JD, 2015 WL 4967247, at *8 (N.D. Cal. Aug. 20, 2015); accord, e.g., Hodsdon

                                   4   v. Mars, Inc., 162 F. Supp. 3d 1016, 1023 (N.D. Cal. 2016), aff’d, 891 F.3d 857 (9th Cir. 2018).

                                   5   But that is not to say that the FAL does not impose liability for omissions, it is only to say that the

                                   6   plaintiff’s claim needs to be based on the defendant’s omission of information from the challenged

                                   7   advertisement. See Norcia, 2015 WL 4967247, at *8. Said another way, the FAL does not

                                   8   impose liability for a pure omission unconnected from a specific advertisement.

                                   9          Johnson points to several such alleged misrepresentative statements. Glock’s website

                                  10   allegedly stated that:

                                  11      •   The guns represented a “profound series of engineering feats”

                                  12      •   The guns had a “revolutionary design”
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                                  13      •   Glock had a “culture of continuous improvement”

                                  14      •    “The continuous pursuit of perfection in every facet of design, engineering, and

                                  15          manufacturing, has firmly established GLOCK pistols as the standard by which all others

                                  16          are compared”

                                  17      •   The amalgamation that “[i]t is our way of thinking, a culture of continuous improvement.

                                  18          The 4th generation of the GLOCK ‘Safe Action’® pistol brings revolutionary design

                                  19          changes to the world’s most popular pistol.”

                                  20      •   It lived up to “Glock Perfection”

                                  21      •   Its “commitment to ‘Perfection’ remains steadfast: we will never compromise quality. We

                                  22          will continue to invest tremendous resources in the technology and talent necessary to

                                  23          improve our products wherever possible; and we will always strive to deliver maximum

                                  24          customer satisfaction!”

                                  25      •   Its motto was ““Safe. Simple. Fast. = Confidence.”

                                  26      •   “GLOCK [pistol] delivers on our promise of safety, reliability, and simplicity at an

                                  27          affordable price.”

                                  28   TAC ¶¶ 17–19.
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                                   1           “Generalized, vague, and unspecified assertions constitute ‘mere puffery’ upon which a

                                   2   reasonable consumer could not rely, and thus are not actionable under the UCL, FAL, or CLRA.”

                                   3   Hadley v. Kellogg Sales Co., 273 F. Supp. 3d 1052, 1081 (N.D. Cal. 2017) (citing Glen Holly Ent.,

                                   4   Inc. v. Tektronix Inc., 343 F.3d 1000, 1015 (9th Cir.), opinion amended on denial of reh'g, 352

                                   5   F.3d 367 (9th Cir. 2003)). “A statement is considered puffery if the claim is extremely unlikely to

                                   6   induce consumer reliance. Ultimately, the difference between a statement of fact and mere puffery

                                   7   rests in the specificity or generality of the claim.” Newcal Indus., Inc. v. Ikon Off. Sol., 513 F.3d

                                   8   1038, 1053 (9th Cir. 2008). I agree with Glock that much of this constitutes non-actionable

                                   9   puffery that cannot be misleading as a matter of law, but the statements about safety are

                                  10   actionable.

                                  11          The first group of statements are about the guns themselves: a “profound series of

                                  12   engineering feats,” “revolutionary,” “perfection in every facet of design, engineering, and
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                                  13   manufacturing,” “the standard by which all others are compared,” “revolutionary design,” and

                                  14   “Glock Perfection.” All of these, as courts have often found when it comes to materially similar

                                  15   terms, are vague and general claims. They are standardless and provide no yardstick to create any

                                  16   objective expectation in the mind of the reasonable consumer. Cf. In re Iphone 4S Consumer

                                  17   Litig., No. C 12-1127 CW, 2014 WL 589388, at *6 (N.D. Cal. Feb. 14, 2014), aff’d sub nom. In re

                                  18   iPhone 4s Consumer Litig., 637 F. App’x 414 (9th Cir. 2016) (finding that describing a product as

                                  19   “breakthrough” is mere puffery and collecting cases finding the same about similar descriptors).

                                  20          The second group of statements are about Glock’s culture: “culture of continuous

                                  21   improvement,” “continuous pursuit of perfection,” and “[w]e will continue to invest tremendous

                                  22   resources in the technology and talent necessary to improve our products wherever possible; and

                                  23   we will always strive to deliver maximum customer satisfaction.” Those statements too are vague

                                  24   statements that are nothing more than amorphous, rosy assessments of the company’s culture that,

                                  25   again, would not lead reasonable consumers to believe anything specific about any product. Cf.

                                  26   Lloyd v. CVB Fin. Corp., 811 F.3d 1200, 1207 (9th Cir. 2016) (finding that describing a company

                                  27   as having a “strong credit culture” to be mere puffery).

                                  28          Last are the statements about safety: describing the guns as “Safe Action®,” “Safe. Simple.
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                                   1   Fast. = Confidence,” and that it “delivers on our promise of safety, reliability, and simplicity.” I

                                   2   cannot find that this group of representations is mere puffery; a factfinder will have to make that

                                   3   assessment. It is true, as Glock points out, that several courts have held that specific uses of a

                                   4   product being “safe” or operating “safely” were puffery. But none of those cases (discussed

                                   5   below) examined a product like a gun. In that particular context, a representation that a gun is

                                   6   “safe” may well have a specific and measurable meaning to a reasonable consumer. No one

                                   7   disputes that, when made incorrectly, guns can be dangerous—indeed, it is a staple of Glock’s

                                   8   briefing that igniting gun powder is dangerous. When a seller represents that a gun is “safe,” a

                                   9   reasonable consumer may understand that to be a concrete representation that, at the very least, the

                                  10   gun will not erratically explode when used correctly.

                                  11          Cases finding the representation to be puffery, in contrast, do not concern a product like a

                                  12   gun or a hazard like a blowout. In Glock’s leading case, the court found that a door-closing
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                                  13   feature in a car described as operating “safely” would not be measurable. See Azoulai v. BMW of

                                  14   N. Am. LLC, No. 16-CV-00589-BLF, 2017 WL 1354781, at *8 (N.D. Cal. Apr. 13, 2017). In one

                                  15   case cited by that court, the Ninth Circuit held that the claim that a cruise line was “a reputable

                                  16   cruise line and that passengers in their care would be safely and adequately served,” was not

                                  17   actionable. Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1066 (9th Cir. 2001). In another, one

                                  18   court found, without further explanation, that “promoting a car as generally safe and reliable is too

                                  19   general a representation to be proven true or false.” Zaccagnino v. Nissan N. Am., Inc., No. 14

                                  20   CIV. 3690 LLS, 2015 WL 3929620, at *4 (S.D.N.Y. June 17, 2015). And in a last, the court

                                  21   found that the motto “Be Safe. Be Smart. Be Certain” on antimicrobial fabric to be puffery.

                                  22   Strategic Partners Inc. v. Vestagen Protective Techs. Inc., No. 216CV05900, 2016 WL 10611186,

                                  23   at *4 (C.D. Cal. Nov. 23, 2016). Unlike those cases, a representation that a gun is “safe” may be

                                  24   found to have the hallmarks of non-puffery: it creates a concrete, specific expectation and it can be

                                  25   proven false.

                                  26          Accordingly, most of the statements that Johnson puts forward cannot result in FAL

                                  27   liability. The safety-based statements can.

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                                   1   IV.    ECONOMIC LOSS RULE

                                   2          Glock argues that the economic loss rule bars the fraudulent omission claim. Mot. 19–22.

                                   3   As a general matter, that doctrine dictates that “[w]here a purchaser’s expectations in a sale are

                                   4   frustrated because the product he bought is not working properly, his remedy is said to be in

                                   5   contract alone, for he has suffered only ‘economic’ losses.” Robinson Helicopter Co. v. Dana

                                   6   Corp., 34 Cal. 4th 979, 988 (2004). In other words, when loss is purely economic—not personal

                                   7   injury or damage to property—the rule sometimes bars tortious liability. Jimenez v. Superior Ct.,

                                   8   29 Cal. 4th 473, 482 (2002). The doctrine exists to separate out tort and contract liability. See id.

                                   9          In Robinson, the California Supreme Court carved out an exception to the economic loss

                                  10   rule for certain fraudulent misrepresentation claims. Robinson, 34 Cal. 4th at 991–92. But it left

                                  11   open the question whether fraudulent omission claims would also be exempted. See id. In

                                  12   Anderson v. Apple, I concluded that the most faithful reading of California law, especially
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                                  13   Robinson itself, led to the conclusion that the rule would not necessarily bar fraudulent omission

                                  14   claims. 500 F. Supp. 3d 993, 1019–20 (N.D. Cal. 2020). That explanation was at some length,

                                  15   but the core point was that “Robinson’s rationale applies equally well to omissions as to

                                  16   affirmative representations and there is no principled reason, in this context, for distinguishing

                                  17   between the two types of intentional misrepresentations.” Id. at 1020. As I explained, fraudulent

                                  18   omissions are materially the same as fraudulent misrepresentations in the ways that mattered to

                                  19   Robinson: they were “above and beyond” a mere breach of contract; they were akin to the

                                  20   common law tort of fraud; they were “intentional”; and they were similar to fraudulent inducement

                                  21   by omission, which was already recognized to not be barred under the rule. See id. at 1020–21.

                                  22          Glock criticizes Anderson and asks that I overturn it. I will not. Glock’s primary

                                  23   argument is largely that I should not have gone where the California Supreme Court did not. At

                                  24   times, it wraps that argument in the garb of the Erie doctrine. See Mot. 20–21. But federal courts’

                                  25   duty in a situation like this is clear (including under Erie): “When interpreting state law, we are

                                  26   bound by the decisions of a state’s highest court. In the absence of such a decision, a federal court

                                  27   must predict how the highest state court would decide the issue using intermediate appellate court

                                  28   decisions, decisions from other jurisdictions, statutes, treatises, and restatements as guidance.”
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                                   1   N.L.R.B. v. Calkins, 187 F.3d 1080, 1089 (9th Cir. 1999). My decision in Anderson was based on

                                   2   what I believed (and believe) to be the most faithful reading of Robinson for the reasons explained

                                   3   there.

                                   4            Glock also argues that Anderson was solely motivated by public policy considerations.

                                   5   Mot. 21. A fair reading shows otherwise; as described above, it was based on a close analysis of

                                   6   Robinson. “Public policy” only entered the last part of the analysis because the California

                                   7   Supreme Court included it in its analysis. Robinson, 34 Cal. 4th at 991. Next, Glock contends

                                   8   that it was important to the California Supreme Court that the floodgates of litigation be kept

                                   9   closed by the requirement that fraud pleading be done with specificity. Mot. 22. Fraudulent

                                  10   omissions cannot, Glock argues, be pleaded with that same specificity. See Anderson, 500 F.

                                  11   Supp. 3d at 1018 (“[O]ther courts have explained, and I agree, that while, [t]ypically, averments of

                                  12   fraud must be accompanied by ‘the who what when where, and how’ of the misconduct charged,
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                                  13   pure omissions claims can succeed without the same level of specificity required by a normal

                                  14   fraud claim.” (some internal quotation marks and citations omitted)). But fraudulent omissions

                                  15   claims also have guardrails to prevent unjustified litigation. Even if, by the nature of the claim,

                                  16   the plaintiff will not be able to point to a specific past statement, they will still need to otherwise

                                  17   plead the elements of the claim. And omission claims have limitations that affirmative

                                  18   misrepresentations do not: Among other things, the universe of actionable omissions is

                                  19   constrained under California law as it is not for affirmative misrepresentations, as explained

                                  20   above. See Hodsdon, 891 F.3d at 862.

                                  21            Last, Glock maintains that, even if Anderson governs, the Robinson exception applies only

                                  22   when the misrepresentation will expose the plaintiff to liability to a third party. Mot. 21–22. It is

                                  23   true that Robinson stated that its holding was limited to that circumstance. Robinson, 34 Cal. 4th

                                  24   at 993. I note that this is somewhat puzzling because none of its reasoning depended on that

                                  25   feature, it only appeared it one summative sentence, and fraudulent inducement by omission

                                  26   claims are not so constrained. But there is no need today to determine whether the economic loss

                                  27   rule is indeed so limited because it is plausible that Glock’s alleged misrepresentations did expose

                                  28   Johnson to liability to others—for instance, if the gun blew out when he was near someone, if
                                                                                          17
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                                   1   someone else used it, or if he sold it to them. Accordingly, even if Glock’s reading is correct, it

                                   2   would not require dismissal now.

                                   3   V.      DAMAGE TO CASINGS

                                   4           Glock contends that Johnson has not pleaded “any facts to permit the Court to determine

                                   5   that alleged harm to brass casings amount to more than de minimis damages.” Mot. 22. He has:

                                   6   He alleges that they are normally usable but became unusable once damaged. TAC ¶¶ 24–25.

                                   7   And he alleges that this causes monetary losses. Id. Glock also briefly argues that the warranty

                                   8   on its website disclaims “liability for incidental or consequential damage or for incidental

                                   9   expenses.” Mot. 22. But Johnson alleges misrepresentation-based claims, not products liability or

                                  10   breach of contract claims. Glock’s argument is largely undeveloped, and it appears that the strong

                                  11   (though not quite unanimous) weight of authority indicates that the mere existence of a warranty is

                                  12   not sufficient to disclaim consumer misrepresentation-based liability, at least at the pleadings
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                                  13   stage. See Mullins v. Premier Nutrition Corp., 178 F. Supp. 3d 867, 891 (N.D. Cal. 2016)

                                  14   (collecting authorities).

                                  15   VI.     CLASS ALLEGATIONS

                                  16           Glock moves to strike the class allegations because the proposed definition is overbroad

                                  17   and certification will not be possible. Mot. 22–24. However,“I have repeatedly rejected motions

                                  18   to strike class allegations as ‘premature’ at the dismissal stage, expressing preference to address

                                  19   class certification issues after the pleadings are settled and discovery finished.” Rice-Sherman v.

                                  20   Big Heart Pet Brands, Inc., No. 19-CV-03613-WHO, 2020 WL 1245130, at *15 (N.D. Cal. Mar.

                                  21   16, 2020) (collecting citations). Other courts in this District have split on whether it is permissible

                                  22   at all. Id., at *3 (collecting citations). Consequently, “[s]triking class allegations at the pleading

                                  23   stage is only appropriate where the defendant presents an argument that completely precludes

                                  24   certification of any class, not just the class currently defined in the complaint.” Id., at *15.

                                  25           Moreover, Glock argues that (1) the class is overbroad in that it may include people who

                                  26   never saw the alleged misrepresentations and those who sold them for full value, and (2) Johnson

                                  27   includes “similar” models of guns to those listed. Mot. 22–24. Even if it were wholly correct

                                  28   (which I do not decide), it would simply narrow the class and narrow the class guns; it would not
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                                   1   be appropriate to strike the allegations altogether. Rice-Sherman, 2020 WL 1245130, at *15.

                                   2                                           CONCLUSION

                                   3          The motion to dismiss is DENIED except to the limited extent described above.

                                   4          IT IS SO ORDERED.

                                   5   Dated: September 22, 2021

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                                   7
                                                                                                 William H. Orrick
                                   8                                                             United States District Judge
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